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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 18-9453-MWF (ASx)                   Date: February 14, 2019
 Title:   Mon Cheri Bridals, LLC v. Cloudflare, Inc., et al.

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
           None Present                             None Present

 Proceedings (In Chambers): ORDER RE: DEFENDANT CLOUDFLARE, INC’S
                            MOTION TO DISMISS FOR FAILURE TO STATE
                            A CLAIM [23] AND MOTION TO TRANSFER
                            CASE TO THE NORTHERN DISTRICT OF
                            CALIFORNIA FOR THE CONVENIENCE OF
                            PARTIES AND WITNESSES [24]

        On January 16, 2019, Defendant Cloudflare, Inc. (“Cloudflare”) filed a Motion
 to Dismiss for Failure to State a Claim (“Motion to Dismiss”). (Docket No. 23). Also
 on January 16, 2019, Cloudflare filed a Motion to Transfer Case to the Northern
 District of California for the Convenience of Parties and Witnesses (“Motion to
 Transfer”). (Docket No. 24). Both motions are noticed to be heard on March 4, 2019.

        On February 6, 2019, 21 days after the motions were filed, Plaintiffs Mon Cheri
 Bridals, LLC and Maggie Sottero Designs, LLC filed a First Amended Complaint
 (“FAC”). (Docket No. 28). Federal Rule of Civil Procedure 15(a)(1)(B) allows
 Plaintiffs to amend the Complaint once as of right within 21 days of the filing of a
 motion under Rule 12(b). Id.

       Accordingly, the Motion to Dismiss is DENIED as moot.

        As to the Motion to Transfer, the Court ORDERS Cloudflare to file its Reply in
 support of the Motion to Transfer by no later than February 22, 2019, addressing the
 additional question of whether the Motion to Transfer remains appropriate in light of
 the FAC. Plaintiff may file a Supplemental Opposition of no more than three pages by
 ______________________________________________________________________________
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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

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 no later than February 27, 2019, also addressing the appropriateness of the Motion to
 Transfer in light of the FAC. The hearing remains set for March 4, 2019.

      The Court will address the response date for the FAC at the hearing on the
 Motion to Transfer.

       IT IS SO ORDERED.




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